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                          Supreme Court of the United States
                                 Office of the Clerk
                             Washington, DC 20543-0001
                                                                          Scott S. Harris
                                                                          Clerk of the Court
                                                                          (202) 479-3011
                                           August 27, 2019


        Clerk
        United States Court of Appeals for the Fourth
        Circuit
        1100 East Main Street
        Room 501
        Richmond, VA 23219


              Re: Melinda Scott
                  v. Joshua Moon, et al.
                  No. 19-5720
                  (Your No. 19-1123)


        Dear Clerk:

             The petition for a writ of certiorari in the above entitled case was filed on
        August 1, 2019 and placed on the docket August 27, 2019 as No. 19-5720.




                                                Sincerely,

                                                Scott S. Harris, Clerk

                                                by

                                                Michael Duggan
                                                Case Analyst
